
21 A.3d 1005 (2011)
In re James G. CHARLES, Respondent.
No. 11-BG-305.
District of Columbia Court of Appeals.
Filed June 23, 2011.
Before: BLACKBURNE-RIGSBY, Associate Judge, NEBEKER and KING, Senior Judges.

ORDER
PER CURIAM
On consideration of the certified order from the Maryland Court of Appeal disbarring respondent by consent, see Attorney Grievance Com'n of Maryland v. Charles, 417 Md. 257, 9 A.3d 80 (2010), this court's April 1, 2011, order suspending respondent pending further action of the court and directing him to show cause why identical reciprocal discipline should not be imposed, the statement of Bar Counsel regarding reciprocal discipline, and it appearing that respondent has failed to file a response either to this court's order to show cause or the affidavit required by D.C. Bar R. XI, § 14(g), it is
ORDERED that James G. Charles, Esquire is hereby disbarred from the practice of law in the District of Columbia. See In re Fuller, 930 A.2d 194, 198 (D.C. 2007) and In re Willingham, 900 A.2d 165 (D.C.2006) (rebuttable presumption of identical reciprocal discipline applies to all cases in which the respondent does not participate, including those involving disbarment). It is
FURTHER ORDERED that for purposes of reinstatement respondent's suspension will not begin to run until such time as he files an affidavit that fully complies with the requirements of D.C.Bar. R. XI, § 14(g).
